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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 15 CR 451-12
         v.
                                                   Judge Edmond E. Chang
 GILBERTO DANIELS

                GOVERNMENT’S SENTENCING MEMORANDUM

        The UNITED STATES OF AMERICA, by its attorney, ZACHARY T. FARDON,

United States Attorney for the Northern District of Illinois, respectfully submits its

sentencing memorandum. The nature and circumstances of defendant’s offenses, and

the history and characteristics of this defendant, call for a sentence of within the

applicable guideline range of 46 to 57 months’ incarceration, as well as the imposition

of limited terms of supervised release.

I.      Background

        As described in the Presentence Investigation Report (“PSR”), on two occasions

in 2013, defendant Gilberto Daniels obtained wholesale quantities of cocaine from co-

defendant Luis Antonio Cruz. Daniels then resold the cocaine to others and paid Cruz

after the resales.

        Specifically, on two occasions in June 2013, Daniels exchanged messages and

telephone calls with Cruz to place orders cocaine. First, on June 3, 2013, Daniels

purchased 9 ounces of cocaine from Cruz, which Cruz subsequently delivered to

Daniels. Similarly, on June 13, 2013, Daniels asked to purchase ½ kilogram of

cocaine from Cruz, which was followed by an in-person meeting with Cruz on the



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afternoon of June 13, 2013, where Daniels obtained approximately 500 grams of

cocaine. After Daniels resold the cocaine to his own customers, Daniels arranged to

pay Cruz $17,000 in cash for the half kilogram of cocaine. The total quantity of

cocaine for which Daniels is accountable is approximately 750 grams.

II.      The Probation Officer=s Guideline Calculations Are Correct

         The PSR calculated defendant’s guideline range as follows:

         24       Base Offense Level (§§ 2D1.1(a)(5) and (c)(8))
         -3       Acceptance of responsibility (§ 3E1.1(a)-(b))
         21       Total offense level

See PSR at 7.

         Daniels has several criminal convictions which earn 6 criminal history points

resulting in criminal history category III. First, on January 21, 2004, Daniels was

convicted of manufacture/delivery of a controlled substance in four cases (Case Nos.

04CR349701, 04CR349801, 04CR349901 and 04CR350001).                                      PSR 8-10.        He was

sentenced to 8 years’ imprisonment in each case with the terms to run concurrently. 1

Second, on February 10, 2015, he was convicted of manufacture/delivery of a

controlled substance and unlawful use of a weapon, and sentenced to 7 years’

imprisonment. PSR 10. The 2015 conviction relates to conduct that occurred in 2011

(before the conduct in the instant offense) but which resulted in a conviction after he




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  The parties and the PSR agree that, with regard to the career offender Guidelines found at § 4B1.1, while each of
these prior convictions are controlled substance offenses as defined by Guideline § 4B1.2(b), the convictions are not
counted separately under § 4A1.2(a)(2) because there were no intervening arrests and the sentences for the
convictions were all imposed on the same day. Therefore, only one of the four convictions can be counted as a
“prior conviction” for purposes of § 4B1.2(c)(2).


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committed the instant offense. 2 According to the PSR, defendant is currently serving

his term of imprisonment for that case in IDOC and his projected release date is

August 2018.

III.    The Factors Set Forth in 18 U.S.C. § 3553(a) Warrant a Guideline
        Sentence

        As described above, the base offense level for the amount of cocaine involved

in the offense is level 24, which results in an applicable range of 46 to 57 months. §§

2D1.1(a)(5) and (c)(8). Although defendant is not a career offender, had he been, the

base offense level would have been a level 32, and with acceptance of responsibility,

the advisory Guidelines range would have been 87 to 108 months. §4B1.1(b)(3) (for

an offense with a 20-year statutory maximum). The reason he is not a career offender

is essentially a technical one – his conduct in 2011 did not result in a conviction until

2015, which was after his conduct in the instant offense.

        This circumstance warrants imposition of a sentence within the advisory

Guideline range.          A deviation from the Guidelines is not warranted for several

reasons. First, this is the defendant’s six criminal conviction for a drug related

offense. For the 2004 series of convictions, he was sentenced to 8 years’ incarceration

to run concurrently, though he only served a small fraction of that time having been

paroled in November 2004.                In 2011, defendant was arrested following a search of

his apartment where drugs and a gun were found. While awaiting disposition of that

case, the defendant committed the instant offense in 2013. Upon his conviction in


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 As such, this conviction does not qualify as a prior felony conviction as defined § 4B1.2(c) because defendant did
not commit the instant offense after acquiring the 2015 conviction. The defendant does not, therefore, have the two
prior convictions required for application of career offender as defined by § 4B1.1.

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2015, he was sentenced to 7 years and has a projected release date in 2018. A

sentencing within the advisory range will adequately reflect the serious nature of the

crime as well as serve as a specific deterrence to this defendant, who has yet to be

deterred. Indeed, the fact that he committed the instant conduct while awaiting

resolution of his then-pending state case is a reflection of lack of respect for the law.

      Additionally, the amounts of cocaine the defendant purchased in this case were

substantial. The cocaine was for resale to his own customers without concern for the

harm his conduct posed to the larger community. The combined amount of cocaine

reflects hundreds of doses that he intentionally put out into the community to be

consumed by addicts and users who sought out his product and who struggled to

handle the consequences of that use. Such conduct is appropriately punished by a

term of incarceration.

      For these same reasons, the government’s position is that any sentence

imposed should run consecutively, or at a minimum only partially concurrently, to

the undischarged term of imprisonment that defendant is currently serving.              §

5G1.3(d). In determining “whether to impose a consecutive or concurrent sentence,

courts are obligated to consider the 3553(a) factors.” United States v. Sandidge, 784

F.3d 1055, 1065 (7th Cir. 2015). Here, for the reasons set forth above concerning the

repeated nature of the defendant’s conduct, the sentence imposed should be

consecutive, or at a minimum only partially concurrently.

      The PSR outlines several mitigating factors, including a very difficult

childhood. Defendant grew up without his biological father, suffered from physical



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abuse from a step-father, sexual abuse from a family acquaintance, and experienced

periods of homelessness as a child. He became exposed to drug trafficking and drug

use at the hands of his mother and step-father, which ultimately contributed to the

suicide of a sibling. These circumstances certainly explain how the defendant came

to commit the crimes he did, but they do not excuse his conduct.

      A term of incarceration that his guidelines call for appropriately balances his

personal characteristics with the significant harm posed by his repeated drug dealing

and his disregard for the law. For these reasons, a guideline range sentence is

warranted.

IV.   The Supervised Release Conditions Outlined in the PSR Should be
      Adopted

      The applicable term of supervised release is at least three years. PSR at 20. In

light of the particular circumstances of the instant offense and defendant’s personal

characteristics, the government notes the following with regard to the terms of

supervised release recommended in the PSR.

      A.     Mandatory conditions

      Four of the six mandatory conditions are recommended for defendant during

the period of supervised release. The conditions require that defendant: not commit

another Federal, State, or local crime; not unlawfully possess a controlled substance;

cooperate in the collection of a DNA sample if the collection of such a sample is

required by law, and refrain from unlawful use of a controlled substance and submit

to drug testing. Because these conditions are mandatory and supported by the facts

of this case, including defendant’s past drug use, they should be imposed.

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        Conversely, the remaining mandatory terms of supervised release, regarding

rehabilitation programs for defendants convicted of domestic violence and SORNA

registration, are not warranted by the offense or defendant’s personal characteristics.

Despite being mandatory, there is an insufficient basis to order the imposition of

these terms of supervised release.

        B.       Discretionary Conditions

        The PSR also recommends the imposition of several of the discretionary

conditions. Specifically, the PSR recommends the imposition of conditions requiring

defendant provide financial support to any dependents, seek lawful employment,

avoid contact with others engaging in criminal activity, 3 avoid illicit drug use, avoid

excessive use of alcohol, refrain from possessing a firearm, abide by the restrictions

on travel, and stay in appropriate contact with his probation officer. PSR at 21-22.

        Each of these conditions is warranted by defendant’s familial and personal

background and his status post-conviction. Requiring that he seek employment and

provide for his family is appropriate given his responsibilities for his wife and

children. Prohibiting him from illegal drug use, weapons possession, or spending time

with others involved in criminal activity will help defendant avoid finding himself in

a situation that could compromise his liberty and long-term success. Finally, the

remaining conditions will allow the Probation Office to monitor defendant as

appropriate.




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  As to proposed condition (6), the government recommends that the phrase “criminal activity” be replaced with
“drug distribution.”

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        C.    Special Conditions

        Finally, the PSR recommends two special conditions of supervised release. The

first requires that defendant perform 20 hours of community service per week if

unemployed for 60 days. The second prohibits defendant from working as an

informant without leave of the Court. The first condition will ensure that defendant

uses his time productively if he is unemployed. The second condition will ensure that

defendant does not become involved with others believed to be engaging in criminal

activity unless the Court has reviewed the situation and deemed such cooperation

appropriate in light of defendant’s criminal history and personal characteristics.

None of the other special conditions are warranted by the facts of this case. Together,

the mandatory, discretionary, and special conditions of supervised release should

help to ensure that defendant successfully reenters the community after

imprisonment and allows him access to resources that will aid that transition.

V.      Conclusion

        The government seeks a sentence within the advisory guidelines range and the

imposition of the proposed terms of supervised release. Such a sentence would reflect

the seriousness of the offense, promote respect for the law, and provide just

punishment for the offense as set forth in ' 3553(a)(2)(A).

                                              Respectfully submitted,
                                              ZACHARY T. FARDON
                                              United States Attorney
                                        By:    /s/ Lindsay C. Jenkins
                                              LINDSAY C. JENKINS
                                              YASMIN N. BEST
                                              JORDAN PALMORE
Dated: August 25, 2016                        Assistant United States Attorneys

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